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                                                                                      12/13/2017


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

 ELIZABETH SINES, et al.,                      )
      Plaintiff,                               )       Civil Action No. 3:17cv00072
                                               )
 v.                                            )       ORDER
                                               )
 JASON KESSLER, et al.,                        )       By:    Joel C. Hoppe
      Defendants.                              )       United States Magistrate Judge

         Defendant Michael Peinovich, proceeding pro se, has filed a motion for access to this

 Court’s Case Management/Electronic Case Filing (“CM/ECF”) system. ECF No. 133. Peinovich

 represents that he is proficient in using computers and has internet access.

         It is hereby ORDERED that Peinovich’s motion, ECF No. 133, is GRANTED for this

 case only. Peinovich must register for CM/ECF and follow certain steps in order to use this

 Court’s CM/ECF system. See generally W.D. Va. Gen. R. 7. Peinovich will continue to

 receive—and must continue to serve—all documents in paper copy until the Clerk of this Court

 approves his CM/ECF application. Once properly registered, Peinovich shall be permitted to

 participate as an ECF filer in this case only and only as long as he is not represented by an

 attorney. Peinovich also must comply with W.D. Va. Local General Rule 7, which governs

 electronic filing in this Court.

         The Clerk shall send a copy of this Order to the parties.

                                               ENTER: December 13, 2017



                                               Joel C. Hoppe
                                               United States Magistrate Judge
